Case 19-61728-lrc      Doc 44   Filed 01/27/21 Entered 01/27/21 09:06:59      Desc Main
                                Document      Page 1 of 5




  IT IS ORDERED as set forth below:




  Date: January 26, 2021
                                                     _____________________________________
                                                                Lisa Ritchey Craig
                                                           U.S. Bankruptcy Court Judge


 _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                   :             CASE NO. 19-61728-LRC
                                         :
KURT GERARD RICHARDSON and               :             CHAPTER 7
TARA RAKOSKE RICHARDSON,                 :
                                         :
         Debtors.                        :
                                         :

   ORDER APPROVING SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
             FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On December 29, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estates (collectively, the “Bankruptcy Estate”) of Kurt Gerard Richardson (“Mr.

Richardson”) and Tara Rakoske Richardson (“Mrs. Richardson” and collectively with Mr.

Richardson, the “Richardsons” or “Debtors”), filed his Motion for Approval of Settlement

Agreement under Rule 9019 of the Federal Rules of Bankruptcy Procedure [Doc. No. 41] (the

“Motion”), seeking an order approving a settlement agreement (the “Settlement Agreement”)




16123411v1
Case 19-61728-lrc       Doc 44     Filed 01/27/21 Entered 01/27/21 09:06:59             Desc Main
                                   Document      Page 2 of 5




between Trustee and Debtors (collectively, the “Parties”) wherein, inter alia,1 Debtors shall pay

a total of $115,000.00 (the “$115,000.00 Settlement Funds”) to Trustee through certain

Scheduled Payments2 for the interest of the Bankruptcy Estate (the “Interest”) in certain

improved real property with a common address of 1648 Mercer Avenue, Atlanta (College Park),

Fulton County, Georgia 30337 (the “Property”). In return, the Interest of the Bankruptcy Estate

in and to the Property shall be deemed abandoned upon the later of: (1) Trustee’s receipt in full

of the $115,000.00 Settlement Funds from Debtors in good funds; or (2) this Settlement

Approval Order becoming final. In addition, the Parties stipulate and agree that Debtors shall

not have a claim under Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on

account of payment of the $115,000.00 Settlement Funds, or for any reason, and that neither

Debtors nor any of their affiliates, agents, principals, or subsidiaries shall receive a distribution

from the Bankruptcy Estate. Moreover, Debtors waive any and all obligations that the

Bankruptcy Estate may otherwise have to pay to Debtors out of the $115,000.00 Settlement

Funds on account of exemptions asserted by or on behalf of Debtors, if any, in the Property, the

Interest, or the $115,000.00 Settlement Funds. Finally, the Settlement Agreement includes

default provisions should Debtors fail to make the Scheduled Payments totaling $115,000.00.

The exact terms of the Settlement Agreement are set forth in Exhibit “A” to the Motion.

         On December 30, 2020, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 42] (the “Notice”) regarding the Motion, in accordance with General Order



1      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
      Capitalized terms not defined herein shall have the meanings ascribed to them in the
Motion.


16123411v1
Case 19-61728-lrc        Doc 44     Filed 01/27/21 Entered 01/27/21 09:06:59           Desc Main
                                    Document      Page 3 of 5




No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on December 30, 2020. [Doc. No. 43].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

         ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]




16123411v1
Case 19-61728-lrc        Doc 44     Filed 01/27/21 Entered 01/27/21 09:06:59   Desc Main
                                    Document      Page 4 of 5




Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
171 17th Street, N.W., Suite 2100
Atlanta, Georgia 30363
Telephone: (404) 873-7030
Email: michael.bargar@agg.com

Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Evan Owens Durkovic
The Semrad Law Firm, LLC
Suite 300
235 Peachtree Street NE
Atlanta, GA 30303

G. Frank Nason, IV
Lamberth, Cifelli, Ellis & Nason, P.A.
Suite 435
6000 Lake Forrest Drive, N.W.
Atlanta, GA 30328

Kurt Gerard Richardson
1648 Mercer Ave
Atlanta, GA 30337

Tara Rakoske Richardson
1648 Mercer Ave
Atlanta, GA 30337



16123411v1
Case 19-61728-lrc      Doc 44     Filed 01/27/21 Entered 01/27/21 09:06:59   Desc Main
                                  Document      Page 5 of 5




Michael J. Bargar
Arnall Golden Gregory LLP
171 17th Street, NW, Suite 2100
Atlanta, GA 30363




16123411v1
